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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


DONNA CURLING, ET AL.,
Plaintiffs,

v.                                            Civil Action No. 1:17-CV-2989-AT

BRAD RAFFENSPERGER, ET AL.,
Defendants.

                 COALITION PLAINTIFFS’ RESPONSE
            TO STATE DEFENDANTS’ NOTICE OF OBJECTION
            TO COALITION PLAINTIFFS’DEPOSITION NOTICES

     Coalition Plaintiffs hereby respond to the State Defendants’ Notice of Objection

to Coalition Plaintiffs’ Deposition Notices lodged with the Court on January 24,

2021, as directed by the Court by Order of that same day. (Doc 1272)

                             The Raffensperger Notice

     Coalition Plaintiffs served their Notice of the Deposition of Secretary

Raffensperger on January 19, 2022 (“Raffensperger Notice”). Coalition Plaintiffs

note that on that same day, and for weeks before, State Defendants and other parties

have been engaged in ongoing communications regarding the taking of depositions,

many of which were discussed for the first time in the closing weeks of discovery.

The timing of the Raffensperger Notice is hardly unique in that regard. Indeed, at

this moment, some fourteen (14) depositions are scheduled or being scheduled for


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taking in the final two weeks of discovery, not including the Coalition’s 30(b)(6)

deposition, which State Defendants indicated yesterday that they still wish to take.

Ironically, State Defendants raised the issue of scheduling that deposition (not for

the first time) on the same day they complained that it was too late to schedule

Secretary Raffensperger’s deposition.

     State Defendants complain that the Raffensperger Notice “extends well beyond

that bounds of ‘abbreviated’1 discovery envisioned by the Court [Doc. 1088], and

beyond the bounds of discovery that is proportional to the needs of the case at this

juncture.” This argument is unfounded and unexplained: the deposition notice,

unlike a 30(b)(6) notice, includes no topics of inquiry and cannot be presumed to be

beyond the scope of discovery.

     “[I]n the Eleventh Circuit, there is no per se rule forbidding the deposition of

high-ranking government officials.” Davis ex rel. J.D.D. v. Carroll, No. 8:16-CV-

0998-T-35MAP, 2017 WL 11151858, at *2 (M.D. Fla. July 24, 2017) (citations

omitted). The Secretary, in his official capacity, has made, and continues to make,

substantive comments on the merits of this litigation, on the elements of the Georgia

election system at issue in this case, the integrity and reliability of that system, the

quality of the audits and outcomes of elections using those systems, and other related

matters. Secretary Raffensperger has made time for countless national TV


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    The word “abbreviated” appears nowhere in the Court’s August 17, 2021 Order.
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appearances, given hundreds of speeches, and has even written a book, all detailing

his personal decision-making as the senior election official and his individual unique

perspective. No other person in the state appears to be as informed or as vocal about

the election system as Secretary Raffensperger. Hence, he is uniquely qualified to

testify as to these matters.

      The case law State Defendants cite to purportedly immunize Secretary

Raffensperger simply do not stand for the proposition for which they are cited. In

Re: USA has nothing to do with this case; it is a separation of powers case that

involves a district court order that a “high-ranking [federal] executive branch

official” appear at a hearing and testify. The court’s analysis focused on one co-

equal branch of government compelling the conduct of another branch. Our

situation does not involve co-equal branches of government. In Fair Fight Action v.

Raffensperger, the court held that Governor could be deposed on a variety of subject

notwithstanding his status as a high-ranking government official. The court in Davis

ex rel. J.D.D. v. Carroll, 2017 WL 11151858 (M.D.Fla. Jul. 24, 2017), also

recognized that there is no per se rule against taking the deposition of a high-ranking

government official provided an appropriate showing can be made.

      All of that said, Coalition Plaintiffs have sought to schedule Secretary

Raffensperger’s deposition as the last Defendant’s deposition to be taken so that

Coalition Plaintiffs can assess whether and to what extent other witnesses have been


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able to address fully essential areas of inquiry Plaintiffs have. If and to the extent

that other witnesses cumulatively have fully addressed the issues about which

Coalition Plaintiffs would question the Secretary, Coalition Plaintiffs will withdraw

their Notice of Deposition. If, on the other hand, questions remain unanswered that

it appears the Secretary should be capable of answering, Coalition Plaintiffs request

that they be able to present those questions to the Court and seek leave to take

Secretary Raffensperger’s deposition as a last resort and final (lay) witness.

                      Secretary of State 30(b)(6) Deposition

      There are two important things to understand regarding the SOS Rule 30(b)(6)

Notice that should eliminate any controversy. First, it was first served a Joint Notice

of the Curling Plaintiffs and the Coalition Plaintiffs, and it still is a Joint Notice.

Second, there is very little in the way of new areas of inquiry introduced by the

revisions made by the Coalition Plaintiffs’ recent notice.2 Rather, the new notice

simply drills down on certain details regarding the areas of inquiry. That was done

in an effort to make it easier for State Defendants to prepare their designee.

      State Defendants largely repeat the same arguments in objecting to the SOS

30(b) (6) as they made for the Raffensperger Notice. The topics covered by the



2
 The original joint 30b(b)(6) deposition notice is attached as Exhibit B. The January
14, 2022 Amended Notice served by Curling Plaintiffs is attached at Exhibit C.
Coalition’s January 20, 2022 Amended Notice served by Coalition Plaintiffs is
attached as Exhibit D.
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Notice cover subjects well within the permissible universe of subjects contemplated

by the Court in its directions to the parties. The specific topics of examination sought

deal with significant ballot tabulation irregularities and ballot secrecy. Specifically,

the topics relate directly to the injury-in-fact individual Coalition Plaintiffs and

members with respect to inaccurate vote count tabulations and irregularities in

several of their home precincts and their individual methods of voting. The

information sought is directly responsive to the Court’s directive to Plaintiffs to

focus discovery efforts on injuries to plaintiffs in their individual voting experience.3

      In addition, State Defendant argue that Coalition Plaintiffs made no effort to

confer with State Defendants in good faith prior to serving the Notice. Again, that

can be explained by understanding that the Amended Notice simply provides greater

detail regarding the subjects to be covered, but the subjects covered were largely

revealed in the Notice that was served in August 2021. Given the critical nature of

the November 2020 election irregularities which Coalition Plaintiffs plan to

incorporate in their direct examination, Coalition Plaintiffs believe the most efficient

approach is to be as specific as possible about the nature of the planned inquiry. If

Defendants require more time to be fully prepared for the examination given the


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  State Defendants’ position appears to be that Coalition Plaintiffs can only take
discovery on standing issues, while state Defendants can take discovery on all
relevant topics. If true, that would be fundamentally unfair to forbid Coalition
Plaintiffs from engaging in substantive discovery or limiting that discovery in any
meaningful way while State Defendants are unconstrained in their discovery efforts.
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complex nature of some of the voting system irregularities that have been detected,

Coalition Plaintiffs do not object to an extension of time to do so.

      To the extent, however, that State Defendants wish to confer regarding the

substance of the Notice, Coalition Plaintiffs are perfectly willing to do so and invite

State Defendants to confer ahead of the telephonic hearing the Court has set for

January 27, 2022. Coalition Plaintiffs will attempt to confer with Defendants’

counsel to provide the Court with the most complete response feasible prior to

January 26 at 1pm.

                Position on a Reasonable Extension of Discovery

      Coalition Plaintiffs believe that a reasonable extension of time for discovery

is essential to avoid prejudice to their pursuit of their claims, and they will file a

statement on January 26th supporting the need for the extension primarily based on

recent findings from still incomplete information received from Fulton County in

response to the Court's December 3, 2021 Order as referenced in its letter Exhibit A.

      Respectfully submitted this 25th day of January, 2022.


 /s/ Cary Ichter
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/s/ Bruce P. Brown                     /s/ Robert A. McGuire, III
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             CERTIFICATES OF SERVICE AND COMPLIANCE

      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has been

prepared in accordance with the font type and margin requirements of LR 5.1, using

font type of Times New Roman and a point size of 14.

      I further certify that on January 25, 2022, a copy of the foregoing was

electronically filed with the Clerk of Court using the CM/ECF system, which will

automatically send notification of such filing to all attorneys of record.

                                                     /s/ Cary Ichter
                                                     Cary Ichter




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